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1 | Anton Ewing ——
3077 Clairemont Drive #372
2 || San Diego, CA 92117
619-719-9640

3 || anton@antonewing.com

Plaintiff In Pro Per

THE UNITED STATES FEDERAL DISTRICT COURT

8 SOUTHERN DISTRICT GF CALIFORNIA
%
10

i . Civil Case No. 16CV0967-BAS-NLS
ANTON EWING,
Plammtiff,
3 JOINT STIPULATION OF
Vs. DISMISSAL WITH PREJUDICE
14 |} Lend Mark Capital Group Inc., a New
York corporation,
Membar Inc., a New York corporation,
16 | Alex Kofman individual et al.
DOES 1-100;
ABC CORPORATIONS 1-100;
ie XYZ, LLC's. 1-100.

1» Defendants

.

22 Pursuant to Rule 41 of the Federal Rules of Civil Procedure, the parties hereby
jointly dismissed with prejudice this civil action only against Defendants Lend

Mark Capital Group Inc., a New York corporation, Membar Inc., a New York

JGINT STIPULATION TO DISMISS ~ I

 

 

 

 
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corporation, and Alex Kofman, an individual. All parties jointly stipulate to said
dismissal.

The Court is respectfully requested to dismiss only the above named
defendants. Plaintiff will herewith file a motion to amend the summons and

complaint to exchange Doe 1 for Mare Palacios.

So stipulated this 11" day of June, 2016

  

| Alex Koimarn
401 Greenwich Street
New ork, NY 10013

 

   

 

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ria Greenwich rec

 

 

Membar inc.
401 Greenwich Street
New York, NY 10013

JOINT STIPULATION TO DISMISS «2

 

 
